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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA


    IN RE: ZANTAC (RANITIDINE)                                                MDL NO. 2924
    PRODUCTS LIABILITY                                                         20-MD-2924
    LITIGATION

                                                                JUDGE ROBIN L. ROSENBERG
                                                       MAGISTRATE JUDGE BRUCE E. REINHART

    ___________________________________/

    THIS DOCUMENT RELATES TO: ALL CASES


         PLAINTIFFS’ OPPOSITION TO BRAND DEFENDANTS’ MOTION TO EXCLUDE
           REMAINING EXPERT OPINIONS RELATING TO GENERAL CAUSATION1


    DATED: August 1, 2022




    1
        This Motion is filed under seal pursuant to the Order at D.E. 5684.
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            858 F.3d 787 (3d Cir. 2017).............................................................................15–16, 18, 23

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          639 F.3d 11 (1st Cir. 2011) ....................................................................................15, 16, 20

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          227 F.3d 776 (7th Cir. 2000) .......................................................................................15, 20

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           Plaintiffs submit this Response in Opposition to Brand Defendants’ Motion to Exclude
    Remaining Expert Opinions Relating To General Causation [D.E. 5696].
                                            INTRODUCTION
           Both parties’ experts set out to answer the same big question: whether the NDMA that
    forms in ranitidine can cause human cancer. Different sub-questions inform that big question. For
    example, how much NDMA forms in ranitidine before it is ingested, mostly due to heat, humidity,
    and time (i.e., exogenous formation)? And how much NDMA forms after ranitidine is ingested,
    due to reactions within the body (i.e., endogenous formation)? Finally, how much NDMA can
    cause cancer in a human (i.e., the “dose” question)?
           As is typically the case, no single study was ever designed to perfectly address any one of
    these questions. But there is a large body of relevant evidence that skillful experts can analyze to
    form firm, scientifically valid opinions.
           Plaintiffs’ experts reviewed that corpus of evidence. They evaluated in vivo studies and
    in vitro studies, urine studies and gastric juice studies, human studies (that could not ethically be
    conducted today) and animal studies. Every one of these studies has benefits and drawbacks given
    the limitations of each study’s design. But, in viewing the totality of this evidence, Plaintiffs’
    experts can evaluate the signal that emerges.
           After reviewing the evidence, Plaintiffs’ experts concluded that ranitidine does form
    endogenously. Plaintiffs’ experts further concluded that no threshold of NDMA carried zero risk
    of producing cancer, though the risk is small at low doses. In coming to these conclusions,
    Plaintiffs’ experts adhered to the mainstream standards adopted by the FDA and international
    organizations.
           Now, the Court must scrutinize the experts’ qualifications and methodologies—and
    Plaintiffs’ experts will pass that inquiry. Their qualifications are undisputed. And their
    methodologies are sound. The experts did not review these studies in a vacuum. Rather, Plaintiffs’
    experts applied their scientific training, extensive experience, and careful judgment to give each
    piece of evidence more or less weight to form overall conclusions. Weighing each piece of
    evidence in order to form a conclusion is not only a valid methodology; it is also the only way to
    properly analyze a large corpus of scientific literature. Scientific bodies, governmental health
    agencies, and case law confirm that point.
           To be sure, an expert cannot assign more weight or less weight to a strand of evidence for



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    scientifically invalid reasons. An expert who over-weights a study because she befriended the
    author, or under-weights it because it supports a litigation adversary, must be excluded. Venality
    is not a valid methodology. But where an expert considers a study and has scientifically grounded
    reasons to under- or over-weight that study, her testimony is not inadmissible simply because a
    competing expert weighs the evidence differently. Yet that is precisely the rule that Defendants
    seek. Plaintiffs’ experts explained in extensive detail the scientifically valid reasons they
    discounted certain studies that superficially appear to support Defendants—while giving more
    credence to the substantial evidence that proves (1) ranitidine forms NDMA endogenously, and
    (2) no amount of NDMA has zero risk of producing cancer. Disagreeing with Defendants’ experts
    on this score is not a methodological flaw. It is a difference of opinion that the jury—not this
    Court—must carefully consider, evaluate, and resolve.
                                                      FACTS
        A. NDMA Forms Endogenously in the Human Body
            NDMA forms endogenously from ranitidine. Reliable, consistent scientific evidence
    demonstrates this point in both in vivo and in vitro studies. Plaintiffs’ experts reviewed relevant
    published peer-reviewed scientific studies and medical literature, applying the same scientific rigor
    that they use in their other professional work.2, 3
            Moreover, endogeneity is not informed by one variable alone—or one set of “actual human
    physiological conditions” as Defendants unusually assert, despite the established body of scientific
    literature to the contrary.4 Rather, numerous variables exist that affect the amount of nitrites in the
    stomach, including diet, bacterial content of the stomach, inflammation, pH, volume of gastric



    2
      This brief cites to the Defense exhibits catalogued in the Brown Declaration.
    3
      Def. Ex. 5 (Le Rep.) at 6–7; Def. Ex. 7 (Marletta Rep.) at 4–5; Def. Ex. 13 (Michaels Rep.) at 3–4; Def.
    Ex. 17 (Najafi Report) at 6; Def. Ex. 19 (Panigrahy Report) at 10–11.
    4
      See e.g., Xu et al., N-nitroso compounds in fresh gastric juice and their relation to intragastric pH and
    nitrite employing an improved analytical method, CARCINOGENESIS 14, 2547–51, (1993),
    https://doi.org/10.1093/carcin/14.12.2547 (study authors reported that intra-gastric nitrosation was
    complicated based on finding significantly higher n-nitroso concentration at both low and high pH ranges);
    Barnard et al., Gastric Juice, Nitrite, and Nitroso Compounds, BANBURY REPORT 12:369–377 (1982)
    (finding that during a 24-hour period nitrite concentration in gastric juice varies significantly depending on
    food consumption and higher nitrite concentrations were found at pH values above 5); Hall et al., Evaluation
    of the nitrosamine hypothesis of gastric carcinogenesis in precancerous conditions, GUT 27, 491–98,
    (1986), https://doi.org/10.1136/gut.27.5.491 (in a 24-hour monitoring study finding that nitrite
    concentrations in gastric juice increased with increasing pH and the total n-nitroso compounds were highest
    with pH ranging from 5 to 6); see also Def. Ex. 7 (Marletta Rebuttal Rep.) at 1–2.


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    fluid and thiocyanate levels.5 To attempt to define a single physiologically relevant condition is
    foolish at best. Plaintiffs’ experts therefore never closed their eyes to any body of evidence.
            How Plaintiffs’ experts reviewed the urine studies is informative, for example. They noted
    that it is difficult to measure NDMA in urine samples because the body metabolizes (i.e., breaks
    down) NDMA quickly. The FDA recently noted that “[o]nly rough estimates are available in the
    literature on endogenous formation of NDMA based on its detection in blood and urine; because
    of its rapid metabolism, only a small fraction is excreted in urine unchanged.”6 Defendants’ own
    expert conceded that only a “low fraction [of NDMA] would be present in the plasma or urine.”7
    This position is consistent with the evidence in studies such as Spiegelhalder, et al., which showed
    that humans rapidly metabolize NDMA such that it is mostly undetectable in urine.8 In that study,
    humans ingested 13-26 micrograms of pure NDMA (13,000-26,000 nanograms) with orange juice,
    and 0% of the NDMA was detected in the urine (with a detection limit of 0.05%). NDMA only
    became detectable in urine when the study designers co-administered the NDMA with orange juice
    and alcohol. The study authors concluded that “[t]o detect NDMA exposure by urine monitoring,
    single doses would have to be of the order of hundreds of micrograms[.]” Id. at 446. Similarly,
    Hrudey SE, et al.9 noted that humans metabolized the majority of NDMA, and only very small
    amounts of NDMA appear in the urine.
            Due to the significant limitations of the urine studies, Plaintiffs’ experts supplemented
    these studies with other types of evidence that evaluated endogenous formation of NDMA. For
    example, they looked at studies where researchers measured concentrations of nitrosamines,
    including NDMA, in gastric juice. These studies consistently demonstrated that NDMA forms
    endogenously.10 Krawczynski (2002), is illustrative. Researchers gave children ranitidine and

    5
      Def. Ex. 17 (Najafi Rep.) at 103, discussing nitrite levels at 7,400 μM–84,100 μM expected in real human
    stomach after intake of meat products like bacon and ham; see also Plaintiff’s Motion to Exclude
    Defendants’ Putative Expert Opinions on General Causation Under Rule 702 (D.E. 5841), p. 19–24,
    discussing the routes of endogenous formation, including conditions and variables of nitrosation.
    6
       Ex. 37 FDA, Nitrosamines as Impurities in Drugs-Health Risk Assessment and Mitigation Public
    Workshop, March 29–30, 2021 (GSKZAN0003505669) at ‘673.
    7
      Ex. 15 Guengerich Dep. 442:10–25.
    8
      Def. Ex. 72 (Spiegelhalder et al. 1982).
    9
      Hrudey et al., Drinking water as a proportion of total human exposure to volatile Nnitrosamines, RISK
    ANALYSIS 33, 2179–208, (2013).
    10
       Def. Ex. 65 (Matsuda et al. 1990) at 162–68; Krawczynski et al., Nitrosamines in children with chronic
    gastritis, JOURNAL OF THE POLISH PAEDIATRIC SOCIETY, 1–11 (2002); Garcia Del Risco et al., The Effect
    of Ranitidine Over a 24-Hour Period on the Content of Nitrites, Nitrates, Nitrosamines and on the Bacterial



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    subsequently measured their gastric juice for nitrosamines. They detected nitrosamines, including
    NDMA. After treatment, there was a statistically significant increase of nitrosamine concentration,
    including NDMA, in the gastric juice (1.031 mg/l), particularly in boys (1.499 mg/l) in comparison
    with the values obtained before treatment (0.074 mg/l), with the control group (0.063 mg/l), and
    an age-matched group of girls (0.924 mg/l). Similarly, in Matsuda (1990) the concentration of
    NDMA in the stomach of volunteers after ingesting ranitidine was five times higher than that in
    the healthy control cohort. The NDMA detected was likely an underestimation of nitrosation given
    that researchers did not analyze the gastric fluid until after a 12-hour fast. Plaintiffs’ experts further
    viewed in vivo studies which, like Krawczynski and Matsuda, demonstrated that NDMA formed
    endogenously after ranitidine use.11
            These studies did not contradict the urine studies—even though the urine studies did not
    accurately measure NDMA in the body.12 Defendants invoke Florian, et al. (Def. Ex. 49) to argue


    Flora of The Gastric Juice in Healthy Subjects, GASTROENTEROL. CLIN. BIOL. 8, 749–53, (1984); Houben
    et al., Are Intragastric N-Nitroso Compounds Elevated After Short-Term Acid Suppression, EUR J CANCER
    PREV. 5 SUPPL. 1, 83-87 (1996); Thomas et al., Effect of One Year’s Treatment with Ranitidine and of
    Truncal Vagotomy on Gastric Contents, 28 GUT, 726–38 (1987); Morris et al., Mutagenicity in Gastric
    Juice, 7 GUT, 723–27 (1984); O’Connor et al., Effect of histamine H2-receptor antagonist therapy on the
    mutagenic activity of gastric juice, MUTATION RESEARCH, 188 (1987) pp. 201-209 (evidence of mutagenic
    activity in gastric juice is transient in the hours immediately following ranitidine ingestion).
    11
       Def. Ex. 65 (Matsuda et al. 1990) (NDMA measured in gastric juice of fasting patients after ranitidine
    and other H2RAs treatment); Garcia del Risco et al. (1984), supra note 10 (increase in nitrosamines,
    expressed as NDMA, with ranitidine treatment); Houben et al. (1996), supra note 10 (ranitidine use
    increased nitrate, nitrite, and N-nitroso compounds in intragastric compounds measured after overnight
    fasting); Morris et al. (1984), supra note 10 (transient rise in mutagenicity following ranitidine and
    cimetidine use 1-3 hours after ingestion).
    12
       Defendants raise that the results from a 2020 human urine NDMA study conducted by Drs. Mitch and
    Najafi outside of litigation were never published. Motion p. 5–6. They fail to disclose the reasons the study
    could not be completed or published; namely, the Stanford IRB was revoked because ranitidine was recalled
    for containing NDMA, a genotoxic carcinogen, and thus could no longer be used in human studies. Def.
    Ex. 40 (Najafi Dep. Tr.) at 194:16–195:10, 197:10–17. Dr. Mitch associated with Emery Pharma to conduct
    analytical testing for the 2020 urine study, which was intended to replicate the 2016 Zeng and Mitch study
    (and had a similar design to the Florian study), but using LC/MS instead of GG/MS. Id. 195:19–196:9,
    196:23–197:6; Ex. 25 Mitch Dep. 348:8–350:17. Some of the samples collected before the study was shut
    down were analyzed, most of which failed to show detectible levels of NDMA, a result that was expected
    because NDMA is known to metabolize and be converted to a methyldiazonium molecule, which is a highly
    mutagenic compound. Def. Ex. 40 (Najafi Dep. Tr.) at 198:2–199:12. Indeed, the rapid metabolization of
    NDMA in humans has been well documented in studies, including the Spieglehalder study, for example,
    which showed that when high amounts of NDMA are administered, it is not detectable in human urine and
    only a small amount is detected when co-administered with alcohol. Ex. 25 Mitch Dep. 347:3–19. Dr. Mitch
    explained that this occurrence is one of the reasons they sought to collect plasma samples (in addition to
    urine samples) in the 2020 study. Id. at 347:22–348:3.



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    against endogenous NDMA formation, for example, but—limitations notwithstanding13—the data
    showed that members of the ranitidine treatment group who ate cured meats had NDMA plasma
    levels nearly double that of the placebo cohort group who ate cured meats. In Florian, et al.,
    ranitidine and nitrite combined to form NDMA in the ranitidine treatment group, just as Plaintiffs’
    experts opine.
            Plaintiffs’ experts also reviewed in vitro studies, in conjunction with the urine studies and
    the in vivo studies. These studies also supported the conclusion that NDMA formed endogenously
    from ranitidine.14 Although Defendants imply that Plaintiffs’ experts relied on only four in vitro
    studies, that is not so. Panigrahy, Michaels, Marletta, and Le considered all relevant in vitro and
    in vivo evidence. This included (but was not limited to):
         (1) Brambilla (1983),15 confirmed that high doses of ranitidine with sodium nitrite produced
            DNA fragmentation in the liver or in gastric mucosa in rats. The authors warned of the
            potential of ranitidine to nitrosate and recommended taking ascorbic acid with ranitidine.
         (2) Braunstein (2021),16 which initially reported the minimum amount of NDMA formed after
            two hours equaled 947 ng with 1 mmol/L of sodium nitrite and a pH of 2.5 with 150 mg
            ranitidine tablets, but did not include the exogenous NDMA originally in the tablets.17




    13
       Plaintiffs’ experts detailed the various limitations of the Florian and Gao studies, explaining why each
    study was not supportive of Defendants’ position. See Def. Ex. 7 (Marletta Rep.) at 46, 52–56; Def. Ex. 13
    (Michaels Rep.) at 48–49, 59–60; Def. Ex. 19 (Panigrahy Rep.) at 107.
    14
       See Plaintiff’s Motion to Exclude Defendants’ Putative Expert Opinions on General Causation Under
    Rule 702 (D.E. 5841), p. 19–24, discussing simulated gastric fluid studies.
    15
       Brambilla et al., Genotoxic effects in rodents given high oral doses of ranitidine and sodium nitrite,
    CARCINOGENESIS 4, 1281–85, (1983).
    16
       Def. Ex. 47 (Braunstein et al. 2021).
    17
       This was later corrected to reflect that 921 ng was found at baseline in the 150 mg ranitidine tablets,
    which increased by 56% to 1440 ng at the same pH (and what Defendants have asserted are physiologically
    relevant sodium nitrite levels of .01 mmol/L). See Error in a Figure, JAMA NETWORK OPEN 5, e227178,
    (2022), https://doi.org/10.1001/jamanetworkopen.2022.7178, Erratum for: Braunstein et al., Analysis of
    Ranitidine-Associated N-Nitrosodimethylamine Production Under Simulated Physiologic Conditions,
    JAMA NETWORK OPEN 4, e2034766, (2021), https://doi.org/10.1001/jamanetworkopen.2020.34766; Ex.
    51 Ranitidine MSK Data (MSK00007347) at ‘7353 (Table 1.B. details ranitidine 150mg tablets at pH 2.5
    in simulated gastric fluid with varying sodium nitrite concentrations and respective NDMA means, e.g.,
    .25 mmol/L with 1340 ng, .5 mmol/L with 902ng and 1.0 mmol/L with 947 ng.) GSK and Dr. Najafi have
    both recognized fluctuations in NDMA levels with initially increasing NDMA levels that subsequently
    decrease. See Def. Ex. 18 (Najafi Rebuttal Rep.) at 16; Ex. 43 June 2020 Root Cause Analysis
    (GSKZAN0000051927) at 26.



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         (3) DeFlora (1981),18 which confirmed ranitidine’s mutagenicity when bacteria preincubated
            with nitrite in human gastric juice from untreated individuals. The authors warned that to
            avoid nitrosation, individuals taking ranitidine should maintain diets low in nitrates and
            nitrites, avoid taking ranitidine close to meals, and take ascorbic acid with ranitidine to
            inhibit nitrosation and block mutagenic derivatives from forming.
         (4) Franekic (1989),19 which found that a mixture of ranitidine and nitrite was both mutagenic
            and genotoxic with .4 mM sodium nitrite and .1 mM ranitidine.
         (5) Maura (1983),20 which determined that ranitidine was genotoxic and DNA-damaging using
            cultured mammalian cells.
         (6) Martelli (1983),21 which found that ranitidine is mutagenic without nitrite, using cultures
            of rat hepatocytes.
         (7) Özhan and Alpertunga (2003),22 in which researchers administered ranitidine (and other
            N-Nitroso compound drugs) with little nitrite (0.13 mM) under simulated stomach
            conditions, and found significant genotoxic activity of nitrite ranitidine reaction products.

            As their expert reports detail, the in vitro studies demonstrate that NDMA can form
    endogenously from ranitidine.23
            Defendants emphasize the simulated gastric fluid study Gao (2021),24 insisting that it


    18
       De Flora et al., Cimetidine, ranitidine, and their mutagenic nitroso derivatives, LANCET 2, 993–94
    (1981), https://doi.org/10.1016/s0140-6736(81)91199-5.
    19
       Franekic et al., Genotoxicity of nitrosated ranitidine, MUTATATION RES. 227, 13–16, (1989),
    https://doi.org/10.1016/0165-7992(89)90061-4.
    20
       Maura et al., DNA damage induced by nitrosated ranitidine in cultured mammalian cells, Toxicology
    Letters 18, 97–102, (1983), https://doi.org/10.1016/0378-4274(83)90077-2.
    21
       Martelli et al., Unscheduled DNA synthesis induced by nitrosated ranitidine in primary cultures of rat
    hepatocytes, MUTATATION RES. 122, 373–376, (1983), https://doi.org/10.1016/0165-7992(83)90022-2.
    22
       Ozhan et al., Genotoxic activities of drug-nitrite interaction products, DRUG CHEMICAL TOXICOLOGY
    26, 295–308, https://doi.org/10.1081/dct-120024844 (2003).
    23
       Def. Ex. 5 (Le Rep.) at 34, 36–45, 47–48, 51–52, 61, 73, 78–80, 141; Def. Ex. 7 (Marletta Rep.) at 33,
    35, 41, 43–47, 49, 52, 60; Def. Ex. 13 (Michaels Rep.) at 7, 17, 25–27, 29–31, 35, 43, 48, 51, 59–60,
    85; Def. Ex. 19 (Panigrahy Rep.) at 20, 27–31, 73, 81, 83, 92–103; 109, 110, 113, 116–119, 121–127, 141,
    186–189, 205, 212; Def. Ex. 20 (Panigrahy Rebuttal Rep.) at 2; Def. Ex. 11 (Melnick Rep.) at 13–14, 19,
    24, 55, 67, 69–72, 79–84, 86–88, 93; Def. Ex. 12 (Melnick Rebuttal Report) at 13–14; and Def. Ex. 17
    (Najafi Report) at 23, 44–48, 50–52, 54-57, 80, 109.
    24
      Def. Ex. 50 (Gao et al. 2021) (notably, although Defendants misleadingly represent that the Gao study is
    FDA research, implying that it represents the FDA’s views and policies, the study contains a clear
    disclaimer stating: “This manuscript reflects the views of the authors and should not be construed to



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    demonstrates NDMA does not form in “physiologically relevant nitrite concentrations.” Motion
    at 11. This emphasis is misplaced: multiple factors influence nitrite levels, including diet, bacterial
    content of the stomach, inflammation, pH, volume of gastric fluid, and thiocyanate levels.25 Yet
    the Gao study itself noted that the in vitro model it used had “inherent limitations and [did] not
    reflect all aspects of human physiology” and that it “did not include gastric conditions in the
    presence of a meal” aside from testing at higher pH levels. 26 It also did not account for typical
    stomach conditions expected with ranitidine use, such as ranitidine-use after a large acidic meal,
    ranitidine-use by obese individuals with larger stomachs, or ranitidine-use after consumption of a
    meal rich in processed nitrites. Moreover, the 26 studies the Gao authors reviewed had similar
    flaws: a vast majority of them were done under fasted conditions27 (and, of the non-fasting studies,
    only one examined ranitidine specifically28). For these reasons, Plaintiffs’ experts concluded that
    the Gao study offered minimal insight on endogenous NDMA formation with ranitidine use.
            Further, endogenous formation of NDMA from ranitidine is not a novel theory. It has been
    well known since the 1970s that nitrosation of tertiary amines, like ranitidine, when exposed to
    nitrite can form genotoxic carcinogens like NDMA.29 In 1982, GSK acknowledged this in the


    represent FDA’s views or policies.”). Further, the Gao researchers issued a correction to address errors in
    their report. See Errors in Figure Captions. JAMA Netw Open. 2021;4(7):e2123189.
    25
       For the fulsome explanation from Plaintiffs’ experts regarding Gao’s limitations, see Def. Ex. 7 (Marletta
    Rep.) at 52–53; Def. Ex. 8 (Marletta Rebuttal Rep.) at 7; Def. Ex. 13 (Michaels Rep.) at 48–49; Def. Ex.
    19 (Panigrahy Rep.) at 107.
    26
       Def. Ex. 50 (Gao et al. 2021), p. 8.
    27
       See Gao Supplement, eTable 1, summarizing the results of the fasted studies.
    28
       See Gao Supplement, eFigure 1; Thomas et al. (1987), supra note 10. The limitations of Thomas are
    discussed at length in D.E. 5841 (Plaintiffs’ Motion to Exclude Defendants’ Putative Expert Opinions on
    General Causation Under Rule 702) at 22–23. See also Def. Ex. 19 (Panigrahy Rep.) at 97–100.
    29
       See e.g., Gillatt et al., Susceptibilities of drugs to nitrosation under standardized chemical conditions,
    FOOD CHEMICAL TOXICOLOGY 22, 269–74, (1984); Mirvish et al., Kinetics of the nitrosation of
    aminopyrine to give dimethylnitrosamine, ZEITSCHRIFT FUR KREBSFORSCHUNG UND KLINISCHE
    ONKOLOGIE,         CANCER        RES.       AND     CLINICAL       ONCOLOGY       82,     259–68,     (1974),
    https://doi.org/10.1007/BF00285560 (well-known that tertiary amine like dimethylamine (DMA) in
    ranitidine and nitrosation source, nitrite, can form NDMA); IARC Monographs on the Evaluation of
    Carcinogenic Risks to Humans, vol. 94: Ingested Nitrate and Nitrite, and Cyanobacterial Peptide Toxins,
    at 274; Reed et al., Gastric juice N-nitrosamines in health and gastroduodenal disease, LANCET 2, 550–52,
    (1981), https://doi.org/10.1016/s0140-6736(81)90939-9; Tannenbaum et al., N-Nitroso compounds from
    the reaction of primary amines with nitrite and thiocyanate, IARC SCIENTIFIC PUBLICATIONS, 155–59,
    (1978); Tannenbaum, N-nitroso compounds: a perspective on human exposure, LANCET 1, 629–32, (1983);
    Zeilmaker et al., Risk assessment of N-nitrosodimethylamine formed endogenously after fish-with-vegetable
    meals, TOXICOLOGY SCIENCES 116, 323–35 (2010), https://doi.org/10.1093/toxsci/kfq093; and Ohshima et
    al., Quantitative estimation of endogenous nitrosation in humans by monitoring N-nitrosoproline excreted
    in the urine, CANCER RES. 41., 3658–62, (1981).


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    Tanner study30:
                   The dimethylamino groups of aminopyrine and oxytetracyclin react
                   with nitrite under certain conditions to yield N-nitrosodimethylamine
                   (NDMA), (Lijinsky et al 1972; Mirvish et al 1974). The mechanism
                   of nitrosation of tertiary amines has been discussed, (Singer 1980).

                   Ranitidine hydrochloride contains a dimethyl amino group therefore
                   experiments were carried out to determine whether NDMA could be
                   formed from the drug in the presence of nitrite.
    Tanner confirmed that ranitidine can form NDMA in the presence of nitrite. GSK used conditions
    similar to the WHO Nitrosation Assay Procedure and found 232 µg (232,000 ng) of NDMA
    formed when ranitidine (10mM) was incubated with sodium nitrite (40 mM). Though it was
    conducted in 1982, GSK did not produce Tanner to the FDA until 2019.
            In a clear attempt to distance themselves from GSK’s knowledge in the early 1980s,
    Defendants argue that the sodium nitrite levels from in vitro studies, such as GSK’s Tanner study,
    are too high and not “physiological.”31 Defendants’ arguments distract from the key point: these
    tests are designed to determine a drug’s capability to nitrosate.32 In 1981, Smith Kline and French
    combined 0.01 M concentrations of ranitidine and sodium nitrite to form a significant amount of
    NDMA.33 Beyond the ranitidine manufacturers’ in vitro studies, Plaintiffs’ experts reviewed and
    analyzed the other available in vitro evidence, which consistently demonstrated that ranitidine
    forms NDMA endogenously in the stomach when ingested under certain conditions.
         B. Animal Studies Provide Evidence That NDMA Causes Cancer
            Tellingly, all available data supports a consistent dose response between NDMA and
    cancer. Animal studies make-up a part of this corpus of data, and both regulatory agencies and
    reputable scientific bodies review such studies. As one organization has observed, “the toxic
    responses in laboratory animals are useful predictors of toxic responses in humans.” Ref Man. at
    637. To determine the effect of exposure to an agent in humans, human epidemiologic
    observational studies have limitations that toxicology models based on live animal studies can


    30
       Def. Ex. 109 (GSKZAN0000084994) at 5002.
    31
       See Plaintiff’s Motion to Exclude Defendants’ Putative Expert Opinions on General Causation Under
    Rule 702 (D.E. 5841), p. 21–24, discussing the factors impacting endogenous formation.
    32
       See Gillatt et al., Susceptibilities of drugs to nitrosation under simulated gastric conditions, FOOD
    CHEMICAL TOXICOLOGY 23, 849–55 (1985), doi.org/10.1016/0278-6915(85)90286-8.
    33
       Ex. 44 1982 SKF NDA supplement, (GSKZAN0003535320) at ‘5392, 95; see also Def. Ex. 22 (Salmon
    Rep.) at 168–169.


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    overcome. Ref. Man. at 563. Animal studies may be conducted as actual experiments with
    researchers exercising total control over study conditions, including agent exposure and subject
    participation. Ref. Man. at 563.34
           Scientists outside of litigation review animal studies to assess NDMA’s carcinogenic
    potential.35 In 1978, the World Health Organization’s (“WHO”) International Agency for Research
    on Cancer (“IARC”) researched NDMA exposure by various routes of administration and
    concluded that NDMA “is carcinogenic in all animal species tested.”36 Similarly, the WHO
    concluded, based on metabolic NDMA studies in human liver preparations, that no qualitative
    differences existed in the metabolism of NDMA between humans and laboratory animals.37
    Relatedly, the Agency for Toxic Substances and Disease Registry (ASTDR) reviewed the tumor
    findings from oral administration studies of NDMA in animals and similarly concluded that “[t]he
    carcinogenicity of orally-administered NDMA has been demonstrated unequivocally in acute-,
    intermediate-, and chronic-duration studies with rats, mice, hamsters, and mink.”38
           Defendants argue that animal studies do not “fit” the theory of general causation, even
    though they do not believe this outside of this litigation. 39 Even so, their contention does not
    provide a ground to exclude a competing opinion. It is generally accepted that NDMA is
    metabolized similarly in human tissue and rodent tissue.40 Both the FDA and GSK have relied on


    34
       Animal studies can avoid the issue of confounding and do not have the same ethical considerations
    required of studies in human populations. See National Research Council, Reference Manual on Scientific
    Evidence: Third Edition. Washington, D.C.: The National Academies Press, at 563, (2011)
    https://doi.org/10.17226/13163 (“Reference Manual”) “[A]nimal studies often provide useful information
    about pathological mechanisms and play a complementary role to epidemiology by assisting researchers in
    framing hypotheses and in developing study designs for epidemiologic studies.” Ref. Man. at 563.
    35
       See Plaintiff’s Motion to Exclude Defendants’ Putative Expert Opinions on General Causation Under
    Rule 702 (D.E. 5841), pp. 2–4, discussing how authorities have concluded that NDMA causes cancer.
    36
       IARC Monographs on the Evaluation of Carcinogenic Risk of Chemicals to Man, vol. 17. IARC, Lyon,
    France, pp. 125-75, 1978 (“IARC 1978”); Overall evaluations of carcinogenicity: an updating of IARC
    Monographs volumes 1 to 42, IARC MONOGRAPHS ON THE EVAL. OF CARCINOGENIC RISKS TO HUMANS
    Suppl. 7, 1-440, (1987), PMID: 3482203 (“IARC 1987”).
    37
       Liteplo et al., World Health Organization, Concise International Chemical Assessment Document 38: N-
    Nitrosodimethylamine, at 15 (2002).
    38
       Agency for Toxic Substances and Disease Registry (ATSDR), U.S. Department of Health and Human
    Services, Toxicological profile for n-Nitrosodimethylamine (Draft for Public Comment), at 57, (2022)
    (“ATSDR NDMA Tox. Profile (2022)”).
    39
       See Plaintiff’s Motion to Exclude Defendants’ Putative Expert Opinions on General Causation Under
    Rule 702 (D.E. 5841), pp. 5–7, providing Defendants’ admissions that NDMA is a carcinogen.
    40
        Tricker et al., Carcinogenic N-nitrosamines in the diet: occurrence, formation, mechanisms and
    carcinogenic potential, MUTATION RES. 259, 277–89, (1991).


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    these studies when assessing the carcinogenicity of NDMA in ranitidine. The FDA recently
    included several NDMA rat carcinogenicity studies in a PowerPoint presentation that it compiled
    for the 2021 Nitrosamines as Impurities in Drugs Working Group.41 When assessing NDMA,
    Defendants have analyzed relevant animal studies to evaluate the potential risks.42 IARC reviewed
    long-term animal studies that reported tumors at multiple sites in rats and mice following NDMA
    administration, and GSK itself considered these studies in a draft FDA submission.43
           Further, direct site to site concordance between tumor formation in animals and humans is
    not required to come to a causation conclusion. For example, Dr. Salmon relied on NDMA studies
    finding tumors in a rodent’s forestomach to support his opinions regarding esophageal cancer.44
    Reliance on these studies is appropriate, however, as the IARC, EPA, and FDA also rely on
    forestomach tumor data when evaluating the risk of human esophageal and gastric cancers. This
    is because “the esophagus and the stomach” are “[h]uman organs that histologically relate[] to the
    rodent forestomach[.]”45 And despite Defendants’ attempts to confuse the issue, Dr. Salmon did
    not extrapolate data from rodents to humans.46 Instead, Dr. Salmon considered animal data to
    support the human epidemiological data and other lines of evidence.
           Finally, Defendants mislead when they assert that “an overwhelming majority” of the
    animal studies reviewed observed only liver tumors. It is expected that NDMA-induced animal
    tumors in rodent studies are mainly seen in the liver due to the inter-species differences in the
    bioavailability of NDMA. The level of NDMA in the blood following oral administration is
    primarily controlled by the amount metabolized in the liver. Studies have measured the fraction of
    orally administered NDMA in the blood in various experimental animals, which have shown that




    41
       FDA PowerPoint for Nitrosamines as Impurities in Drugs; Health Risk Assessment and Mitigation
    Workshop Day 1, p. 5–6 (citing Schmähl et al., The carcinogenic effect of nitrosodimethylamine in Rats,
    NATURWISSEN 175, 46, (1959); Magee et al., The production of malignant primary hepatic tumours in the
    rat by feeding dimethylnitrosmine, BRIT. J. OF CANCER 10, 114–122, (1956); Druckrey et al., Organotropic
    carcinogenic effects of 65 various N-nitroso- compounds on BD rats, ZEITSCHRIFT FUR KREBSFORSCHUNG
    69, 103–201, (1967).
    42
       Ex. 45 December 2019 follow-up communication submitted to the FDA, GSK cited gastric carcinoid
    findings from IARC rat studies (GSKZNDAA0000636880) at ‘6886.
    43
       Ex. 46 EMA Article 31 Addendum to response to Question 6 (GSKZAN0000080232).
    44
       Def. Ex. 43 (Salmon Dep. Tr.) at 406:15–412:6.
    45
       Proctor et al., Mode-of-Action Framework for Evaluating the Relevance of Rodent Forestomach Tumors
    in Cancer Risk Assessment, TOXICOL. SCI. 98, 313–326, (2007).
    46
       Def. Ex. 23 (Salmon Rebuttal Rep.) at 7–8.


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    approximately 8% of the dose was measured in the blood of a rat47, while 49% of the dose was
    bioavailable in a monkey48, 67% in a pig49 and 93% in a dog.50 As a result, because NDMA’s
    bioavailability is higher in larger experimental animals compared to rodents, NDMA’s
    carcinogenic activity can be more aggressive and result in many more tumor types in humans
    compared to rodents. Indeed, researchers have indicated that humans are likely more sensitive to
    NDMA than animals.51 Despite these differences, Plaintiffs’ experts have identified animal studies
    supporting all five of the designated cancers. See, e.g., Def. Ex. 22 (Salmon Rep.) at 4, 185, 190,
    195, 199, 203-204; Def. Ex. 19 (Panigrahy Rep.) at 186, 201–209, 213, 215–216, 218; Def. Ex. 13
    (Michaels Rep.) at 7, 42–43, 45, 50, 54, 57.
         C. NDMA Is a Genotoxic Carcinogen That Exhibits a Dose Response Relationship
            The opinions shared by Dr. Panigrahy, Dr. Michaels, Dr. McTiernan, and Dr. Moorman
    that there is no threshold safe dose of NDMA are tethered to the established science in this case
    and are well-founded. Four points are worth highlighting.
            First, it is well established in the scientific community that NDMA is a potent genotoxic
    carcinogen. See Plaintiffs’ Opposition To Brand Defendants’ Motion To Exclude Plaintiffs’
    General Causation Experts’ Opinions Related To Epidemiology at § I.A.
            Second,     studies    of    NDMA        have     proven    that    it   does    not    exhibit    a
    no -observed -adverse -effect level (NOAEL). The NOAEL is the highest dose level that does not
    produce a significant increase in adverse effects in comparison to the control group. Peto et al.,
    the most extensive rat carcinogenicity study done for NDMA, and which has been used by FDA
    to calculate the Acceptable Daily Intake (ADI) for NDMA, confirmed that NDMA does not have
    a threshold for tumor induction.52 FDA concludes the following for NDMA: “cancer bioassay and



    47
        Mico et al., Low-dose in vivo pharmacokinetic and deuterium isotope effect studies of N-
    nitrosodimethylamine in rats, CANCER RES. 45, 6280–85, (1985).
    48
       Gombar et al, Interspecies scaling of the pharmacokinetics of Nnitrosodimethylamine, CANCER RES. 50,
    4366–70, (1990).
    49
       Gombar et al., Pharmacokinetics of N-nitrosodimethylamine in swine, CARCINOGENESIS 9,1351–54,
    (1988).
    50
       Gombar et al., Pharmacokinetics of N-nitrosodimethylamine in beagles, CANCER RES. 47, 343–47,
    (1987).
    51
       Hakura et al., Advantage of the use of human liver S9 in the Ames test, Mutation Res. 438, 29–36, (1999),
    https://doi.org/10.1016/s1383-5718(98)00159-4.
    52
       Peto et al., Effects on 4080 rats of chronic ingestion of N-nitrosodiethylamine or N-nitrosodimethylamine:
    a detailed dose-response study, CANCER RES. 51, 6415–6451 (1991).


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    adduct formation results produced a linear dose response without evidence of a threshold.”53 Dr.
    Craig Lindsey, who Defendants recently withdrew as an expert, agreed that there is no threshold
    akin to what the scientific community has concluded, contrary to his colleagues’ opinions. Ex. 20
    Lindsley Dep. 136:24–137:4.
            Third, Defendants themselves acknowledge in internal documents that NDMA is a
    genotoxic carcinogen and that NDMA exposure at any level should therefore be avoided to avoid
    cancer. See D.E. 5841 at 5–7. GSK reported, for example, that “NDMA is a genotoxic carcinogen,
    and exposure should be reduced to the extent possible,” because it is “highly likely that NDMA is
    carcinogenic to humans potentially at low levels of exposure.”54 Arthur Ciociola, Ph.D., a
    regulatory witness for Pfizer, testified “I’m aware that NDMA is a carcinogen” and “it makes
    common sense that no level would be an acceptable level of NDMA.” Ex. 11 Ciociola Dep.
    171:11–14.
            Fourth, the FDA has set the ADI for NDMA at 96 ng/day based on the ICH M7
    guidelines.55 Because of their known genotoxic and carcinogenic properties, NDMA and other
    N-nitroso compounds are classified by ICH as falling within a “cohort of concern” because they
    can display extremely high carcinogenic potency.56 Under ICH M7 guidelines, NDMA is a
    controlled class 1 impurity and is subject to the most stringent controls.57 Notably, the ICH M7
    calculates a cancer threshold of toxicological concern (“TTC”) for genotoxic impurities in drug
    products or drug substances (1.5 µg/day as the lifetime limit), but if a drug is included in its “cohort
    of concern” (like ranitidine is) then the ICH M7 does not give a TTC. Instead, for Class 1 (and
    Class 2) mutagenic impurities with positive carcinogenicity data, compound specific risk
    assessments are used to derive an ADI based on carcinogenic potency and linear extrapolation. Id.
    p. 11–12. To calculate the ADI for NDMA, the FDA uses linear extrapolation to TD50. Id. p. 5.
            Contrary to the FDA/ICH M7 requirement of a linear dose extrapolation, Defendants seek


    53
       FDA, Nitrosamines as Impurities in Drugs—Health Risk Assessment and Mitigation Public Workshop
    at 11 (March 29-30, 2021) (emphasis added), available at https://www.fda.gov/media/150932/download.
    See also Ex. 37 (GSKZAN0003505669).
    54
       Ex. 41 GSK Health Hazard Report (GSKZAN0003419540).
    55
       FDA, Control of Nitrosamine Impurities in Human Drugs, Guidance for Industry (Feb. 2021). According
    to the FDA, Nitrosamines are “potent genotoxic agents” and probable human carcinogens” p. 5.
    56
       ICH guidance for industry M7(R1) Assessment and Control of DNA Reactive (Mutagenic) Impurities in
    Pharmaceuticals to Limits Potential Carcinogenic Risk (March 2018) (“ICH M7”).
    57
       Id. Control of Nitrosamine Impurities in Human Drugs, Guidance for Industry (Feb. 2021), Appendix B,
    p. 1.


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    to convince the Court that a different standard applies: the BMD (Benchmark Dose) approach. The
    FDA’s 2021 Working Group on Nitrosamines explicitly rejected the BMD approach for NDMA,
    noting that—even though “generally[] BMDL is the preferred approach”—“the consensus of the
    expert panelists” was that “for nitrosamines, the TD50 is the best available- carcinogenic risk
    estimation.”58 Likewise, James Harvey, a GSK witness and one of the authors of Johnson et al.
    (2021) (an article that, in contradiction to the FDA, used the BMDL approach) admitted that the
    BMD approach has not been adopted for NDMA by any regulatory agency, and that there is no
    precedent for it. Dr. Harvey testified that: “This [Johnson] paper is about alternative modeling
    approaches to define acceptable intakes. It’s not been accepted as a standard.” Ex. 16 Harvey Dep.
    58:12–18, 68:6–25. He further described the Johnson BMDL approach as a mere “proposal.” Id.
              Lastly, the NDMA quantities associated with the five specific cancers identified in the
    human epidemiological diet and occupational studies are consistent with the NDMA quantities
    found in ranitidine. As Dr. Salmon opines “[d]ose-response has been demonstrated, where the
    levels of NDMA in ranitidine formulations, as discussed in my Dose Response section, are
    sufficient, based on the NDMA testing results of the FDA, Defendants and Emery Pharma, and
    comparable to NDMA exposure in dietary studies, the Hidajat study and Cardwell to lead to an
    increased risk of bladder, esophageal, liver, pancreatic and stomach cancer.”59
              In sum, Defendants’ position alleging that NDMA has a safe threshold is not based on
    accepted science. It also directly conflicts with the FDA’s applicable regulatory standard for
    NDMA, which requires application of a linear dose extrapolation.
                                               ARGUMENT
         I.      Plaintiffs’ Experts’ Opinions on Endogenous NDMA Formation Are Based on
                 Reliable Scientific Bases
              Five of Plaintiffs’ experts opined that NDMA forms endogenously in the human body as a
    result of ingestion of ranitidine: Panigrahy, Michaels, Marletta, Le, and Najafi.60 All five of these


    58
       Nitrosamines as Impurities in Drugs—Health Risk Assessment and Mitigation Public Workshop at 8
    (FDA March 29-30, 2021) at 8.
    59
       Def. Ex. 22 (Salmon Rep) at 5; see also Def. Ex. 19 (Panigrahy Rep) at 195–199.
    60
       Defendants have not moved to exclude Dr. Salmon’s opinions regarding endogenous formation of
    NDMA—and, since the time for making such challenges has passed, Defendants have forfeited any such
    arguments. Moreover, contrary to Defendants’ passing claim in a footnote, Dr. Salmon has not withdrawn
    his opinions about endogenous formation of NDMA. Motion at 3 n.9. At deposition, Dr. Salmon clarified
    that his focus was exogenous formation and dose response of NDMA. While he reviewed some literature



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    experts reviewed multiple types of evidence before arriving at this conclusion. In reviewing that
    evidence, these experts assigned strong weight to some studies and weak weight to other studies—
    but they assigned that weight for scientifically valid reasons. Because each expert employed a
    “weight of all the evidence” methodology, with valid explanations for the weight they assigned to
    various evidence, the Court should admit their opinions.
        A. “Weight Of All The Evidence” Methodology Is Well Supported
            An expert can base his or her opinion on a “weight of all the evidence” methodology. This
    methodology essentially boils down to a three-step process: (1) the witness consults a corpus of
    scientific evidence, (2) the witness weights various pieces of evidence, and (3) the witness comes
    to an overall conclusion about what the evidence shows. In step one, the witness must consult the
    relevant corpus. In step two, the witness must have valid scientific reasons for assigning the
    weights she assigns. But, so long as the witness consults a corpus of evidence and weights things
    validly, then her conclusion must be admitted to the jury. This methodology finds support both in
    the scientific community and in the law.
            The scientific community approves of the “weight of all the evidence” methodology.
    Indeed, the Reference Manual on Scientific Evidence all but commands it. It notes that an expert
    should “consider all the relevant available scientific evidence, taken as a whole, to determine which
    conclusion or hypothesis regarding a causal claim is best supported by the body of evidence.” Ref.
    Man. at 20. The Manual details that “many of the most well-respected and prestigious scientific
    bodies” employ this method. Id. These include IARC, the Institute of Medicine, the National
    Research Council, and the National Institute for Environmental Health Sciences. Id; see also IARC
    Preamble at 8 (detailing that it considers multiple types of evidence when determining causation,
    including “epidemiological studies, cancer bioassays in experimental animals, and mechanist
    evidence, as well as pertinent information on exposure in humans”). Indeed, “[i]n applying the
    scientific method, scientists do not review each scientific study individually for whether by itself
    it reliably supports the causal claim.” Reference Manual at 20. Such tunnel -vision would commit
    scientific malpractice because one study (or one type of evidence) “when considered alone, may
    not individually prove the contention.” Id. at 20. Rather, “[s]cientific inference typically requires


    on endogenous formation of NDMA, he concluded that the endogenous formation was due to multiple
    factors in addition to ranitidine. Consistent with the opinions in his Reports, Dr. Salmon opines that NDMA
    forms in the stomach by a reaction of ranitidine with dietary nitrite under certain physiological conditions
    and consumption of nitrite rich meals. See, e.g., Def. Ex. 22 (Salmon Rep.) at 5.


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    considerations of numerous findings[.]” Id. at 19-20.
           The law also approves of the “weight of all the evidence” methodology. Courts routinely
    classify it as a reliable method to reach conclusions about causation. For example, courts
    frequently admit opinions finding causation under this method, “even if no one line of evidence
    support[ed] a reliable inference of causation by itself.” Forced Air Warnings Devices Prods. Liab.
    Litig., 9 F.4th 768, 781 (8th Cir. 2021) (cleaned up); see also Milward v. Acuity Specialty Prods.
    Grp., Inc., 639 F.3d 11, 23 (1st Cir. 2011) (“The district court erred in reasoning that because no
    one line of evidence supported a reliable inference of causation, an inference of causation based
    on the totality of the evidence was unreliable.”); NutraSweet Co. v. X-L Eng’g Co., 227 F.3d 776,
    789 (7th Cir. 2000) (same). But, as noted, a court must pay attention to how the expert weights the
    evidence: the expert cannot over-weight one study based on a coin flip and under-weight another
    study because her dog barked too loudly when she read it. The rationale behind the weighting must
    meet scientific scrutiny. See In re Zoloft (Sertraline Hydrochloride) Prods. Liab. Litig., 858 F.3d
    787, 796 (3d Cir. 2017) (noting that the methodology is “generally reliable,” but acknowledging
    “all of the relevant evidence must be gathered, and the assessment or weighing of that evidence
    must not be arbitrary, but must itself be based on methods of science.”) (internal quotation marks
    omitted); Milward, 639 F.3d at 23 (“The hallmark of the weight of the evidence approach is
    reasoning to the best explanation for all of the available evidence.”) (emphasis added); In re Abilify
    (Aripiprazole) Prods. Liab. Litig., 299 F. Supp. 3d 1291, 1311 (N.D. Fla. 2018) (“This ‘weight of
    the evidence’ approach to analyzing causation can be considered reliable, provided the expert
    considers all available evidence carefully and explains how the relative weight of the various
    pieces of evidence led to his conclusion.”); In re Testosterone Replacement Therapy Prods. Liab.
    Litig., Case No. 14 C 1748, 2017 WL 1833173, at *9 (N.D. Ill. May 8, 2017) (“The Court agrees
    with plaintiffs that there is nothing inherently unreliable about a method that relies on the totality
    of the evidence, provided that the expert considers the evidence carefully and explains how the
    weight of the various pieces led him to his conclusion.”).
       B. Plaintiffs’ Experts Reliably Applied the “Weight of All the Evidence” Methodology
          to Determine That NDMA Forms from Ranitidine Endogenously
           Plaintiffs’ experts reliably applied the “weight of all the evidence” methodology to
    conclude that NDMA forms from ranitidine endogenously. For each Plaintiffs’ expert, the record
    shows that the expert considered all relevant evidence, and then weighted that evidence based on



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    valid scientific rationales.
                          1. Plaintiffs’ Experts Considered a Wide Array of Evidence
            First, Plaintiffs’ experts considered a wide array of evidence. Panigrahy reviewed in vivo
    studies that evaluated gastric fluid, in vivo studies that evaluated plasma, and in vitro nitrosation
    studies. See Def. Ex. 19 (Panigrahy Rep.) at 86–108. He reviewed multiple studies that examined
    the biomechanisms by which NDMA formed from ranitidine. See id. at 118–127. His “materials
    considered” list spans 99 pages. See id. at PDF 289–387.
            Michaels reviewed in vivo studies, in vitro human studies, and in vitro animal studies. See
    Def. Ex. 36 (Michaels Dep. Tr.) at 97:9–98:18. As part of this process, he addressed urine studies
    (and their weaknesses), plasma studies, and gastric fluid studies. Def. Ex. 13 (Michaels Rep.) at 7,
    26–31. His “materials considered” list spans hundreds of entries. See id. at PDF 75–99.
            Marletta’s previous work specialized in endogenous formation of nitrite and nitrosamines.
    See Def. Ex. 31 (Marletta Dep. Tr.) at 33:21-25. He has published in vitro studies using cell
    cultures. See id. at 34:25-35:9. Marletta reviewed and evaluated various types of endogenous
    formation evidence, including studies with gastric fluid, studies with simulated gastric fluid, and
    studies with plasma. Def. Ex. 7 (Marletta Rep.) at 32–33, 35–47. His “materials considered” list
    spans hundreds of entries. See id. at PDF 90–114.
            Le considered urine studies, plasma studies, gastric fluid studies, and simulated gastric
    fluid studies. See, e.g., Def. Ex. 5 (Le Rep.) at 37–38, 70. Her materials considered list spans
    hundreds of entries. See id. at PDF 196–210.
            Finally, Najafi based his opinion on endogenous NDMA formation on multiple categories
    of evidence: simulated gastric fluid testing, plasma studies, urine studies, the overall stability of
    ranitidine, and his own simulated gastric fluid experiments. See Def. Ex. 17 (Najafi Rep.) at 80–
    104. His materials considered list spans hundreds of entries. See id. at PDF 226–28.
                          2. Plaintiffs’ Experts Provided Valid Rationales for How They
                             Weighted the Evidence
            Plaintiffs’ experts also provided valid rationales for how they weighted the evidence. Each
    expert’s report outlines these rationales in extensive detail, and the overall themes are highlighted
    in this brief’s Facts section. It would be tedious (and likely violate the local rule’s page count
    requirements) to catalogue here every rationale for every expert’s weighting of every study. But—
    given that Defendants’ have specifically criticized Plaintiffs’ experts for under-weighting urine



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    studies—Plaintiffs’ bring the following examples to the Court’s attention as a representative
    sample:
         •   Panigrahy underweighted the urine studies. But, in doing so, he addressed the many
             difficulties inherent in measuring NDMA in the urine—in particular the body’s quick
             metabolization of NDMA. See Def. Ex. 19 (Panigrahy Rep.) at 83.
         •   Michaels “consider[ed] valid, alternate, and opposing perspectives when [he] assess[ed]
             the entire body of scientific and medical literature[.]” Def. Ex. 13 (Michaels Rep.) at 4. In
             doing so, he addressed the difficulties of measuring NDMA in the urine, given that the
             human body metabolizes it quickly. Id. at 58–60.
         •   Marletta underweighted the urine studies, but did so because of “analytical difficulties in
             measuring it.” Def. Ex. 31 (Marletta Dep Tr.) at 241:22. He testified that “with [its] rapid
             metabolism” it is wrong “to expect[] to find [NDMA] in the urine.” Id. at 241:23–242:3.
         •   Le underweighted the urine studies, but did so because a “lack of urinary concentration
             cannot be interpreted as [a] lack of plasma or blood concentration of NDMA.” Def. Ex. 5
             (Le Rep.) at 36, 44. For example, she noted that “Florian et al. omitted discussion on the
             unique pharmacokinetic characteristics of NDMA in the human plasma and tissue, which
             should be seriously cogitated in order to adequately extrapolate the study results to the
             clinical setting where serious and potentially lethal toxic effects are of concern.” Id.
         •   Najafi also addressed the weaknesses in the urine studies, noting that Florian et al. (1) made
             “no attempt to evaluate if NDMA was formed in the gastrointestinal tract and then was
             metabolized/reacted with biomolecules,”61 (2) identified “several outliers” yet “explained
             [them] away without any additional experimental insights,” and (3) contained numerous
             data points (73%) in its urinary NDMA analysis that “were below limit of quantitation.”
             Def. Ex. 17 (Najafi Rep.) at 107–108.
         •   All five of these Plaintiffs’ experts provided detailed reasoning for why they discounted
             the Florian results. See Def. Ex. 5 (Le Rep.) at 43–45; Def. Ex. 7 (Marletta Rep.) at 46, 54–
             56; Def. Ex. 13 (Michaels Rep.) at 58–60; Def. Ex. 17 (Najafi Rep.) at 104–109; Def. Ex.
             19 (Panigrahy Rep.) at 106–107, 156.


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      Florian and colleagues confirm this point acknowledging that their study would not detect the formation
    of NDMA in the gastrointestinal tract that was metabolized and would not be found in plasma or urine. See
    Def. Ex. 49 (Florian, et al. 2021) at E8.


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           In sum, all five of these experts considered multiple types of evidence, looked at multiple
    studies within each type of evidence, and weighed this evidence carefully and with thorough
    scientific explanation. Each of Plaintiffs’ experts therefore “consider[ed] all available evidence
    carefully and explain[ed] how the relative weight of the various pieces of evidence led to [the
    expert’s] conclusion.” In re Abilify, 299 F. Supp. 3d at 1311; see also In re Zoloft, 858 F.3d at 796
    (same); In re Testosterone Replacement Therapy, 2017 WL 1833173 at *9 (same).
       C. Defendants Err by Asking the Court to Weigh Evidence in Isolation
           Notwithstanding the scrutiny that Plaintiffs’ experts devoted to their analyses, Defendants
    ask this Court to collectively reject their opinions for two reasons. Neither argument persuades.
                         1. Defendants err by asking the court to judge causation based
                            exclusively on the urine studies
           Defendants first contend that “human studies of NDMA in urine prov[e] that NDMA is not
    formed endogenously.” Motion at 4. Per Defendants, no reasonable expert could disagree that
    human urine studies are entitled to low weight. This argument commits two fundamental errors.
           First, Defendants’ argument asks the Court to judge Plaintiffs’ experts based on only one
    type of evidence: the urine studies. But the Court cannot do this: its task is to assess whether each
    Plaintiffs’ expert faithfully followed the “weight of all the evidence” methodology that he or she
    purported to follow. That means the Court must judge whether each expert “consider[ed] all
    available evidence carefully and explain[ed] how the relative weight of the various pieces of
    evidence led to [the expert’s] conclusion.” In re Abilify, 299 F. Supp. 3d at 1311; see also In re
    Zoloft, 858 F.3d at 796 (same); In re Testosterone Replacement Therapy, 2017 WL 1833173 at *9
    (same). And Plaintiffs’ experts followed the “weight of all the evidence” methodology well
    precisely because they did not only focus on the urine studies: they scrutinized everything available
    and only then came to conclusions. Indeed, if Plaintiffs’ experts had ignored entire categories of
    relevant evidence, which is precisely what the defense experts did, that would have provided
    fodder for a valid Daubert challenge. By asking this Court to ignore entire bodies of evidence,
    Defendants therefore ironically ask the Court to commit a methodological sin itself.
           Second, Defendants’ argument asks the Court not only to exclusively rely on the urine
    studies (error #1), but then also to weigh those studies highly (error #2). It is a textbook rule under
    Daubert, however, that Courts cannot weigh evidence—that’s the jury’s job. See, e.g., Quiet Tech.
    DC-8, Inc. v. Hurel-Dubois UK Ltd., 326 F.3d 1333, 1343-44 (11th Cir. 2003) (“[A]ppellant’s



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    arguments go to the weight, not the admissibility, of the evidence [the expert] offered.”); Schultz
    v. Akzo Nobel Paints, LLC, 721 F.3d 426, 433 (7th Cir. 2013) (“Rule 702 did not require, or even
    permit, the district court to choose between those two studies at the gatekeeping stage. Both experts
    were entitled to present their views, and the merits and demerits of each study can be explored at
    trial.”). As detailed above, Plaintiffs’ experts provided a valid rationale for weighing the urine
    studies poorly: namely, that NDMA metabolizes quickly in the human body and therefore would
    not show up in urine samples. This suffices to provide a valid scientific rationale. It is “empirically
    testable” and thus “subject to effective cross examination[.]” QuietTech, 326 F.3d at 1343-44 (11th
    Cir. 2003). A jury should thus be entitled to hear that rationale.
                         2. Defendants err by asking the court to judge causation based
                            exclusively on the in vitro studies
           Next, Defendants contend that Plaintiffs’ experts’ reliance on in vitro studies “do not
    support, let alone prove[,] the formation of NDMA by ranitidine in human physiological
    conditions.” Motion at 9. This argument commits the same two errors.
           First, it asks the Court to focus exclusively on the in vitro studies. For the reasons already
    stated, the Court must not do this: the Court must instead ask whether each expert “consider[ed]
    all available evidence carefully and explain[ed] how the relative weight of the various pieces of
    evidence led to [the expert’s] conclusion.” In re Abilify, 299 F. Supp. 3d at 1311; see also In re
    Zoloft, 858 F.3d at 796 (same); In re Testosterone Replacement Therapy, 2017 WL 1833173 at *9
    (same). This means the Court must consider whether Plaintiffs’ experts considered in vivo studies,
    in vitro studies, animal studies, and even (ironically enough) the urine studies. It was error for
    Defendants to ask the Court to consider only the urine studies—and it is equally error to ask the
    Court to judge Plaintiffs’ experts based only on in vitro studies.
           Second, Defendants’ argument again asks the Court to weigh the evidence—but this time,
    rather than weigh the urine studies strongly, they ask the Court to weigh the in vitro studies weakly.
    For the same reasons as before, the Court cannot do this. Defendants argue that the in vitro studies
    are flawed and do not support causation, but that “does not support the argument that [Plaintiffs’
    experts] did not consider the totality of the evidence necessary to arrive at a scientifically reliable
    opinion” on endogenous NDMA formation. In re Trasylol Prods. Liab. Litig., Case No.
    08-md-01928, 2010 WL 1489793, *4 (S.D. Fla. Feb. 24, 2010). Again, Courts routinely admit
    opinions finding causation based on a “weight of all the evidence” approach, “even if no one line



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    of evidence support[ed] a reliable inference of causation by itself.” Forced Air Warnings Devices
    Prods. Liab. Litig., 9 F.4th 768 at 781 (cleaned up); see also Milward, 639 F.3d at 23 (same);
    NutraSweet Co., 227 F.3d at 789 (same). And even if Defendants are correct, and flaws exist in
    the in vitro studies, those flaws must face the crucible of aggressive cross examination. See, e.g.,
    Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 596 (1993) (“Vigorous cross examination,
    presentation of contrary evidence, and careful instruction on the burden of proof are the traditional
    and appropriate means of attacking shaky but admissible evidence.”); Quiet Tech., 326 F.3d at
    1345 (“The identification of such flaws in generally reliable scientific evidence is precisely the
    role of cross examination.”) (collecting cases). As before, the jury must be permitted to weigh the
    virtues and vices of the in vitro studies, not this Court.
              In short, Defendants “simply have competing beliefs as to the best practice for
    understanding the different factors at play in this case as to causation and the development of
    cumulative diseases”—such as how much weight to give to various studies—but “none of the[ir]
    concerns presented bear on reliability.” Waite v. All Acquisitions Corp., 194 F. Supp. 3d 1298,
    1313-14 (S.D. Fla. 2016). The Court must therefore permit Plaintiffs’ experts to give their opinions
    on endogenous NDMA formation.
        II.      Plaintiffs’ Experts Properly Relied Upon Animal Studies, Only in Part, to
                 Conclude That NDMA Is a Carcinogen
              Defendants criticize four of Plaintiffs’ experts who opine that NDMA causes cancer in
    humans: Panigrahy, Le, Melnick, and Salmon. All four reviewed multiple types of evidence before
    arriving at this conclusion (including animal studies and human epidemiological studies), and gave
    scientifically valid reasons for weighing the studies how they did. (Indeed, Dr. Panigrahy provided
    the same opinions based upon the same methodology in the Valsartan litigation, and the Honorable
    Robert Kugler blessed his methodology—and the opinions that resulted from it—as reliable and
    sound. See Ex. 54 Order, In re Valsartan, Case No. 19-MD-2875 (D.N.J. Mar. 4, 2022).) Because
    each expert thoroughly employed a “weight of all the evidence” methodology, the Court should
    admit their opinions.
        A. Plaintiffs’ Experts Reliably Applied the “Weight of All the Evidence” Methodology
           to Determine That NDMA Causes Cancer in Humans
                          1. Plaintiffs’ experts considered more than just animal studies
              Defendants would have the Court believe that Panigrahy, Le, Melnick, and Salmon only
    considered animal studies before each concluded that NDMA causes cancer in humans. To the


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    contrary, Plaintiffs’ experts relied upon this evidence only in part: in concluding that NDMA
    causes cancer in humans, Plaintiffs’ experts also relied upon various types of epidemiology
    (namely, dietary, occupational, and ranitidine epidemiology) and various mechanistic evidence
    (namely, in vitro studies, animal studies, and the IARC 10 Key Characteristics of Carcinogens).
    See, e.g., Def. Ex. 5 (Le Rep.) at 8, 93–118; Def. Ex. 11 (Melnick Rep.) at 15–19, 22–65; Def. Ex.
    19 (Panigrahy Rep.) at 27–63, 78–81, 83–88; Def. Ex. 22 (Salmon Rep.) at 4, 48–161. In context,
    then, the animal studies on carcinogenicity informed only one part of the analysis of Plaintiffs’
    experts. And, as established, an expert who employs a “weight of all the evidence” methodology
    should consider the corpus of relevant evidence. Plaintiffs’ experts, in relying on animal studies in
    context with other evidence, therefore did the very thing that their methodology commanded.
                         2. Plaintiffs’ experts provided valid rationales for how they weighted
                            evidence
           Each expert’s report explains in detail why and how the expert weighed the animal
    studies—and the Facts section of this brief again provides a helpful summary. It is worth noting,
    however, that the studies upon which Plaintiffs’ experts relied showed that NDMA caused various
    forms of cancers at various doses in all experimental species tested. In 1978, for example IARC
    found that NDMA “is carcinogenic in all animal species tested” including “mice, rats, Syrian
    golden, Chinese and European hamsters, guinea-pigs, rabbits, ducks, mastomys, various fish,
    newts and frogs.” IARC Monographs on the Evaluation of Carcinogenic Risk of Chemicals to
    Man, vol. 17, IARC, Lyon, France, 151, 1978 (“IARC 1978”). NDMA induced “malignant
    tumours following its administration by various routes, including ingestion and inhalation, in
    various organs in various species” including tumours “of the liver, kidney and respiratory tract.”
    Id. Moreover, the WHO determined that “NDMA is clearly carcinogenic” “[b]ased upon
    laboratory studies in which tumours have been induced in all species examined at relatively low
    doses.” Liteplo et al., WHO, Concise International Chemical Assessment Document 38: N-
    Nitrodimethylamine, at 4 (2002) (“WHO 2002”). Finally, the NTP has found that NDMA “caused
    tumors in numerous species of experimental animals, at several different tissue sites, and by
    several different routes of exposure” including liver, kidney, lung, ovary, digestive glands,
    hematopoietic system, blood vessels, and nasal cavity. NTP, U.S. Department of Health and
    Human Services, 15th Report on Carcinogens at 7 (2021).
           When Plaintiffs’ experts weighted the animal studies as relevant, they did so in tandem



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    with IARC, the WHO, and the NTP. And they did so because it is generally accepted that NDMA
    is metabolized similarly in human tissue and rodent tissue.62 Indeed, both the FDA and GSK have
    relied on these studies when assessing the carcinogenicity of NDMA in ranitidine. And as
    Defendants themselves admit, “[t]here is no question that animal studies can be a helpful tool in
    drug research[.]” Motion at 15. What’s more, these animal studies are supplemented by
    epidemiology, see generally Plaintiffs’ Opposition To Brand Defendants’ Motion To Exclude
    Plaintiffs’ General Causation Experts’ Opinions Related To Epidemiology, something that the law
    does not even require. See Rider v. Sandoz Pharms. Corp., 295 F.3d 1194, 1198 (11th Cir. 2002)
    (noting that “[i]t is well-settled” that epidemiology studies are not required to corroborate other
    types of evidence to prove causation). Plaintiffs’ experts therefore provided valid scientific
    rationales for weighting the animal studies as relevant. A jury can and should judge those
    rationales.
         B. Defendants Again Err by Asking the Court to Weigh the Animal Studies in Isolation
            Nonetheless, Defendants’ ask the Court to collectively reject any expert’s “opinion[] based
    on animal studies.” Motion at 14. In doing so, Defendants commit the exact same two errors that
    they previously committed.
            First, just like they asked the Court to judge opinions based solely on the urine studies, and
    then based solely on the in vitro studies, Defendants now ask the Court to judge Plaintiffs’ experts’
    opinions based solely on animal studies. Again, the Court cannot do this: its task is only to assess
    whether each Plaintiffs’ expert faithfully followed the “weight of all the evidence” methodology.
    In re Abilify, 299 F. Supp. 3d at 1311; see also In re Zoloft, 858 F.3d at 796 (same); In re
    Testosterone Replacement Therapy, 2017 WL 1833173 at *9 (same). Plaintiffs’ experts did just
    that: they considered a range of evidence in addition to animal studies, including various forms of
    human epidemiology and various forms of mechanistic evidence, and they provided valid
    rationales for how they weighted that evidence. Defendants again ask the Court to commit the
    methodological sin of judging each Plaintiffs’ experts’ “weight of all the evidence” analysis based
    on only a sliver of that expert’s actual analysis.
            Second, just like they did before, Defendants ask the Court to weigh the evidence. They
    first ask the Court to accept the premise that the human epidemiological studies show no


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      Tricker AR, Preussmann R., Carcinogenic N-nitrosamines in the diet: occurrence, formation,
    mechanisms and carcinogenic potential, Mutation Res., 277-89, (1991).


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    relationship between ranitidine and cancer (a premise the Court cannot accept without itself
    weighing the human epidemiology evidence—something it cannot do). Then, based on that faulty
    premise, Defendants ask the Court to ignore the animal studies (and thus to ignore the conclusions
    of IARC, NTP, and WHO) because “animal studies cannot ‘trump’ human epidemiological
    studies.” Motion at 16. Even if you grant the (again, faulty) premise that the human ranitidine
    epidemiology does not show a relationship between ranitidine and cancer (which it does), the Court
    cannot then proceed to weigh the animal studies evidence. Again, it is left to the jury to decide
    whether Plaintiffs’ experts properly assigned the right weights to the various forms of evidence
    the experts considered. See Quiet Tech., 326 F.3d at 1343-44; Schultz, 721 F.3d at 433. That
    Defendants’ think the animal studies, standing alone, cannot support causation is of no matter—
    those studies are only a fraction of what Plaintiffs’ experts considered. And—to the extent that
    Defendants think the animal studies flawed—their flaws await the test of cross examination. See
    Daubert, 509 U.S. at 596; Quiet Tech., 326 F.3d at 1345; In re Trasylol, 2010 WL 148793 at *4.
    The Court must again reject Defendants’ request that it stand-in for the role of juror.
       III.      Plaintiffs’ Experts Did Not Opine on the Legal Question of Threshold Dose, but
                 Merely Testified as to the Scientific Reality That Any Amount of a Carcinogen Is
                 Dangerous
              Three of Plaintiffs’ experts testified to the unremarkable conclusion that a human ought
    not ingest any amount of a genotoxic, clastogenic, and mutagenic carcinogen. See Def. Ex. 36
    (Michaels Dep. Tr.) at 48:11–16; Def. Ex. 39 (Moorman Dep. Tr.) at 288:21–25; Def. Ex. 41
    (Panigrahy Dep. Tr.) at 100:24–101:3. (Notably, even though Defendants portray her as doing so,
    McTiernan did not opine on the “minimum dose and duration of exposure to ranitidine that is
    necessary to cause” any of the five cancers. See Def. Ex. 32 (McTiernan Dep. Tr.) at 607:2–11.)
    In doing so, Panigrahy, Michaels, and Moorman recognized the uncontroversial scientific reality—
    established “from 40 years of literature”—that “anything that’s mutagenic and changes the DNA
    base can initiate cancer.” Def. Ex. 41 (Panigrahy Dep. Tr.) at 100:24–101:3. Notably, each expert
    qualified his or her testimony, recognizing that the risk of cancer increases with the dose, and that
    a mere molecule of a carcinogen is unlikely to cause cancer (even if there is a theoretical possibility
    that it might do so). See Def. Ex. 36 (Michaels Dep. Tr.) at 52:4–7 (“I would say that just exposure
    to one molecule, just like smoking one cigarette in your life, would be unlikely with just exposure
    to one molecule.”); Def. Ex. 39 (Moorman Dep. Tr.) at 289:13–18 (“[A]s I stated, theoretically,
    because NDMA is a genotoxin, any exposure could cause cancer. But our general thought is that


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    the greater the exposure to a carcinogen, the higher the risk for cancer.”); Def. Ex. 41 (Panigrahy
    Dep. Tr.) at 101:5–7 (“[M]ultiple studies have said that the risk may be very, very, very, very, very
    small with one molecule.”).
             Defendants object to this unremarkable testimony by mischaracterizing it: to read their
    motion is to think that Michaels, Moorman, and Panigrahy all gave an opinion as to what amount
    of NDMA suffices to establish a legal causation threshold. That is, of course, not what they opined.
    They merely testified as to the same scientific reality that GlaxoSmithKline recognized in its 2019
    Hazard Assessment Report: “NDMA is a genotoxic carcinogen, and exposure should be reduced
    to the extent possible.” Ex. 41 GSK Hazard Assessment (GSKZAN0003419540). If that sentence
    is valid enough for GSK to adopt as company policy and write on its letterhead, its valid enough
    for Michaels, Moorman, and Panigrahy to repeat at trial.
       IV.      Dr. Panigrahy Properly Relied upon the FDA’s “Acceptable Daily Intake” for
                NDMA as Evidence
             Defendants ask that the Court “preclude” Panigrahy “from offering an opinion that FDA’s
    [acceptable daily intake] is proof of general causation[.]” Motion at 23. In making this request,
    Defendants once again mischaracterize the testimony of a Plaintiffs’ expert. Panigrahy did not
    opine that the FDA’s 96 nanogram daily limit established a 96 nanogram threshold to trigger
    causation. Rather, Panigrahy testified: (1) that the FDA, a generally well-regarded body, saw fit to
    establish some limit on the amount of NDMA a person should ingest daily, and (2) that the FDA
    chose to establish any limit at all provides one piece of evidence that NDMA causes cancer. (If the
    FDA knew beyond a doubt that no dose of NDMA would cause cancer, why, then, would it
    establish a limit?) Neither statement is controversial, despite Defendants’ attempts to make them
    so. But lest there be any doubt, Panigrahy, like Plaintiffs’ other experts, based his opinions on the
    weight of all the evidence he reviewed, including human dietary and occupational studies that
    showed a statistically significant increased risk of cancer at various lifetime cumulative exposures
    to NDMA. See, e.g., Def. Ex. 19 (Panigrahy Rep.) at 200–201 (noting that he reviewed
    “occupational exposure and dietary studies”).
                                             CONCLUSION
             For the foregoing reasons, Plaintiffs respectfully request that the Court deny Defendants’
    Motion.




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   Dated: August 1, 2022.

                                                     Respectfully submitted,



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                                   CERTIFICATE OF SERVICE

           I hereby certify that on August 1, 2022, a copy of the foregoing was electronically filed

    with the Clerk of the Court using CM/ECF and is being served on counsel via email pursuant to

    ECF No. 5684.



                                                              /s/ Robert C. Gilbert
                                                                  Robert C. Gilbert




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